      Case 1:17-cv-00173-BRW-CSM Document 88 Filed 07/25/18 Page 1 of 6



                      ,17+(81,7('67$7(6',675,&7&2857
                           ',675,&72)1257+'$.27$

(1(5*<75$16)(5(48,7</3ET AL.                                              3/$,17,))6

96                                  &9%5:

*5((13($&(,17(51$7,21$/ET AL.                                               '()(1'$176

                                            25'(5

       3HQGLQJDUH'HIHQGDQWV*UHHQSHDFH)XQG,QF*UHHQSHDFH,QWHUQDWLRQDODQG

*UHHQSHDFH,QF¶VFROOHFWLYHO\³*UHHQSHDFH´0RWLRQVWR'LVPLVV3ODLQWLIIV(QHUJ\7UDQVIHU

(TXLW\/3DQG(QHUJ\7UDQVIHU3DUWQHUV/3FROOHFWLYHO\³(QHUJ\7UDQVIHU´UHVSRQGHGDQG

*UHHQSHDFHUHSOLHG)RUWKHUHDVRQVVHWRXWEHORZWKH0RWLRQVWR'LVPLVV'RF1RV

DUH'(1,('ZLWKRXWSUHMXGLFH7KHPRWLRQVIRUKHDULQJ'RF1RVDUHDOVR'(1,('

       %\SP$XJXVW(QHUJ\7UDQVIHUPXVWILOHDQDPHQGHGFRPSODLQW7KHSDUWLHV

PD\UHQHZWKHLUPRWLRQVDIWHUWKH$PHQGHG&RPSODLQWLVILOHG

,     %$&.*5281'

       7KHOHJDOGLVSXWHRYHUWKH'DNRWD$FFHVV3LSHOLQH³'$3/´LVZHOOGRFXPHQWHG7KLV

2UGHULQYROYHVWKUHHJURXSVRSSRVHGWR'$3/

       7KHSDJHFRPSODLQWLVLPSRVVLEOHWRVXPPDUL]H,QEURDGVWURNHV7UDQVIHU(QHUJ\

DOOHJHV*UHHQSHDFHYLRODWHGWKH5DFNHWHHU,QIOXHQFHGDQG&RUUXSW2UJDQL]DWLRQV$FW³5,&2´

E\RSHUDWLQJDFULPLQDOHQWHUSULVHHQJDJHGLQ




       
        'RF1RVDQG
       
        'RF1RVDQG
       
       7KHOHQJWK\IDFWXDOKLVWRU\RIWKLVGLVSXWHLVRXWOLQHGLQStanding Rock Sioux Tribe v.
U.S. Army Corps of Engineers)6XSSG:/''&-XQH
       
        'RF1R

                                                 
      Case 1:17-cv-00173-BRW-CSM Document 88 Filed 07/25/18 Page 2 of 6



       ,YLRODWLQJRURWKHUZLVHIXQGLQJGLUHFWLQJFRQWUROOLQJDQGLQWHQWLRQDOO\LQFLWLQJ
       DFWVRIWHUURULVPWKDWYLRODWHWKH863DWULRW$FWLQFOXGLQJGDPDJLQJRUDWWHPSWLQJ
       WRGDPDJHDQHQHUJ\IDFLOLW\DQGFRPPLWWLQJDUVRQRQIHGHUDOSURSHUW\DQGRQSULYDWH
       SURSHUW\XVHGIRULQWHUVWDWHFRPPHUFHLLXVLQJWKHPDLOVDQGZLUHVDVSDUWRID
       VFKHPHWRGHIUDXGGRQRUVVXSSRUWHUVVWDWHDQGIHGHUDOWUHDVXULHVDQGRWKHUVLLL
       WD[ IUDXG LY LQWHUVWDWH GUXJ WUDIILFNLQJ Y WUDQVSRUWLQJ DQG WUDQVPLWWLQJ
       PLVDSSURSULDWHG IXQGV DQG SURSHUW\ WKURXJK LQWHUVWDWH FRPPHUFH DQG YL
       FRQVSLUDFLHVWRGRWKHVDPH

       (QHUJ\7UDQVIHUDOOHJHVWKH³5HG:DUULRU&DPS´FDUULHGRXWYLROHQWFULPLQDOFRQGXFW

WKDWZRXOGJLYHULVHWRWKHPDMRULW\RIWKH5,&2FODLPV,WDOVRDOOHJHVIUDXG

       (QHUJ\7UDQVIHUKDVIDLOHGWRVWDWHSODXVLEOH5,&2FODLPVDJDLQVW*UHHQSHDFH,WDOVRKDV

IDLOHGWRFRPSO\ZLWKEDVLFUXOHVRISOHDGLQJ(QHUJ\7UDQVIHUSURYLGHGHQRXJKLQIRUPDWLRQ

KRZHYHUWRPHULWDPHQGPHQWLQVWHDGRIGLVPLVVDORIWKH&RPSODLQWDWWKLVVWDJH

,,    3/($',1*

       7KHPRVWEDVLFUHTXLUHPHQWRISOHDGLQJLV³VLPSOHFRQFLVHDQGGLUHFW´DOOHJDWLRQV+HUH

LVDVLQJOHW\SLFDODOOHJDWLRQDPRQJWKHVHSDUDWHDOOHJDWLRQVLQWKHSDJHFRPSODLQW

       )RU\HDUVWKH*UHHQSHDFH(QWHUSULVHPHPEHUVDVZHOODV(QWHUSULVHPHPEHUV
       %DQN7UDFNRUJ6LHUUD&OXE%ROG$OOLDQFH(DUWKMXVWLFHDQGWKHRWKHUSXWDWLYH
       ³JUHHQ JURXSV´ KDYH UHJXODUO\ ZRUNHG LQ FRQFHUW WR H[HFXWH GR]HQV RI WKHVH
       IUDXGXOHQW VFKHPHV :KHQ WKH H[WRUWLRQ VXFFHHGV WKHVH SXWDWLYH HQYLURQPHQWDO
       JURXSVLQVLVWWKDWWKHLUWDUJHWSXEOLFO\HQGRUVHWKHLUFDPSDLJQDQGOLHVZKLFKWKH\
       WKHQXVHWRGULYHIXUWKHUGRQDWLRQVDQGDWWDFNV)RUH[DPSOH(QWHUSULVHPHPEHUV
       *UHHQSHDFH RUJ 5$1 6LHUUD &OXE DQG %DQN7UDFN SXUVXHG D FRQFHUWHG
       FDPSDLJQDJDLQVWFRPSDQLHVH[WUDFWLQJRLOIURPWKH&DQDGLDQ7DU6DQGVDQGLQ
       GRLQJ VR UHOLHG RQ WKH UHOHQWOHVV GLVVHPLQDWLRQ RI IDOVH EXW ³$/$50,67
       6(16$7,21$/)$&72,'6´SXEOLVKLQJWKHSURGXFWLRQRISXWDWLYHO\VSRQWDQHRXV
       SURWHVWVYLROHQFHDQGRWKHUFULPLQDODFWLYLW\,QGHHG-DQH.OHHEWKHIRXQGHURIWKH
       H[WUHPLVW JURXS DQG (QWHUSULVH PHPEHU %ROG 1HEUDVND LGHQWLILHG D VHQVDWLRQDO
       FDPSDLJQDJDLQVWWKH7DU6DQGVDVEXVLQHVVRSSRUWXQLW\IRU%ROGWREHFRPHWKHIDFH

       
        'RF1RSS
       
        'RF1RSS
       
        )('5&,93G
       
        7KHWRWDORIVHSDUDWHDOOHJDWLRQVGRHVQRWLQFOXGHRYHUVXEDOOHJDWLRQVFRQWDLQHG
ZLWKLQWKHDOOHJDWLRQV

                                                  
      Case 1:17-cv-00173-BRW-CSM Document 88 Filed 07/25/18 Page 3 of 6



        RIDKLJKSURILOHFDPSDLJQDJDLQVWIRVVLOIXHOGHYHORSPHQW&RQVLVWHQWZLWKWKHLU
        SOD\ERRNWKH(1*2VXELTXLWRXVO\GLVVHPLQDWHGEDVHOHVVDQGDODUPLVWDOOHJDWLRQV
        RIFDWDVWURSKLFLPSDFWVRIH[WUDFWLRQRIWDUVDQGRLOLQFOXGLQJLQD6HSWHPEHU
        *UHHQSHDFHSXEOLFDWLRQ³7KH:RUOG¶V/DUJHVW&DUERQ%RPE´ZKLFKWKUHDWHQHG
        DPRQJRWKHUWKLQJVWKDW³FDUERQFRQWDLQHGLQWKHWDUVDQGVLVHQRXJKWRVHQG(DUWK¶V
        DWPRVSKHUHLQWRUXQDZD\KHDWLQJUHOHDVLQJDQFLHQWPHWKDQHDQGNLOOLQJVHDOLIHDQG
        IRUHVWVVRWKDWKXPDQLW\FRXOGQRWUHYHUVHWKHKHDWLQJUHJDUGOHVVRIZKDWZHGR´
        RUJHFKRHGWKHVHVDPHIDOVHKRRGVIDOVHO\UHSUHVHQWLQJWKDWWKHWDUVDQGVDUH
        ³RQHRIWKHZRUOG¶VODUJHVWDQGPRVWGDQJHURXVSRROVRIFDUERQ´ZKLFKLIH[WUDFWHG
        ³ZLOO    PHDQ PRUH DVWKPD DQG UHVSLUDWRU\ GLVHDVHV PRUH FDQFHU DQG PRUH
        FDUGLRYDVFXODUSUREOHPV´/LNHZLVH6LHUUD&OXESXEOLVKHGDYLGHRLQ-XQH
        HQWLWOHG³7KH7DU6DQGV3LSHOLQHV7KH'LUWLHVW2LORQ(DUWK´ZKLFKDFFXVHGWKHWDU
        VDQGVRI³JHQHUDWLQJPDVVLYHJUHHQKRXVHJDVSROOXWLRQDQGGXPSLQJFDQFHUFDXVLQJ
        FKHPLFDOVLQWRWKHDLUDQGZDWHU´$QG%DQN7UDFNFODLPHGWKDWWKHORJJLQJQHFHVVDU\
        WR H[WUDFW RLO IURP WKH WDU VDQGV ³LV IDWDO IRU WKH FOLPDWH´ 7KHVH FODLPV ZHUH
        FRPSOHWHO\XQWHWKHUHGWRIDFWEXWVXIILFLHQWO\VHQVDWLRQDOWRJHQHUDWHKLJKSXEOLFLW\
        DQGHPRWLRQDQGGULYHYLVLWRUVDQGGRQRUVWRWKHZHEVLWHRIWKHWDUVDQGVSDFN%DVHG
        RQ WKHVH VHQVDWLRQDO DQG DODUPLVW VWDWHPHQWV WKH (QWHUSULVH VWDJHG SURWHVWV DQG
        HQFRXUDJHGDFWLYLVWVWRJHWDUUHVWHGWRSUHVVXUHSROLWLFLDQVDQGWKHPHGLD

7KLVDOOHJDWLRQLVQRWSDUWRIWKH³SUHOLPLQDU\VWDWHPHQW´,QVWHDGWKLVLVD³VWDWHPHQWRIIDFW´

7UDQVIHU(QHUJ\XVHVWRHVWDEOLVKD³IUDXGXOHQWVFKHPH´DQG³SDWWHUQDQGSUDFWLFHRIIUDXGDQG

RWKHULOOHJDOLW\´ZLWKSDUWLFXODULW\

        (QHUJ\7UDQVIHURXWOLQHVEURDGFODLPVE\FRS\LQJVWDWXWRU\HOHPHQWVWRWKH&RPSODLQW

EXWWKHIDFWXDOEDVLVIRUWKHFODLPVDSSHDUVLQWHQWLRQDOO\REVFXUHG)RUH[DPSOHWKHSULPDU\

DOOHJDWLRQVFRQQHFWLQJ*UHHQSHDFHWRWKH5HG:DUULRU&DPSDQGDOOHJHG5,&2YLRODWLRQVDUH

        'HIHQGDQW(DUWK)LUVWSURYLGHGRIVHHGPRQH\WRDFRUHJURXSRI
        YLROHQW HFRWHUURULVW LQILOWUDWRUV ZKR WKHQ IRUPHG ZKDW ZRXOGEH NQRZQ DV 5HG
        :DUULRU&DPS5HG:DUULRU&DPSRSHUDWHGDVDURJXHJURXSDWWKHSURWHVWVLWH
        UHIXVLQJWRZRUNFROODERUDWLYHO\ZLWKWKH7ULEHRUWKHSURWHVWRUV¶YDULRXVDGKRF
        JRYHUQLQJERGLHVGreenpeace also organized donation drives to fund, feed, and
        house the militant group in ten cities across the country 5HG :DUULRU &DPS
        DGYHUWLVHGWKHLUYLROHQWFRQIURQWDWLRQVWRVHFXUHDGGLWLRQDOIXQGLQJDQGXVHGRWKHU
        LOOHJDOPHDQVLQFOXGLQJVHOOLQJGUXJVERXJKWZLWKGRQDWHGPRQH\WRRWKHUSURWHVWRUV
        DWWKHFDPSVWRILQDQFHWKHLURSHUDWLRQVDQGOLQHWKHLURZQSRFNHWV



        
         'RF1RS
        
             'RF1RSHPSKDVLVDGGHG

                                                     
      Case 1:17-cv-00173-BRW-CSM Document 88 Filed 07/25/18 Page 4 of 6



       1RWDEO\(QHUJ\7UDQVIHUDOOHJHG'HIHQGDQW(DUWK)LUVWZDVD)ORULGDQRQSURILW

FRUSRUDWLRQEXWLWDSSHDUVQRVXFKHQWLW\H[LVWVDQGLWKDVQRWEHHQVHUYHG5HG:DUULRU&DPS

DQGGR]HQVRIRWKHUJURXSVDQGLQGLYLGXDOVDUHQDPHGLQWKH&RPSODLQWEXWQRWDVSDUWLHV

(QHUJ\7UDQVIHUYDJXHO\FRQQHFWVWKHVHQRQSDUW\LQGLYLGXDOVDQGJURXSVWR*UHHQSHDFHWKURXJK

DQ³HQWHUSULVH´³ZKLSSHGLQWRDIUHQ]\´E\D³IURQWIRU*UHHQSHDFH´

       7KHUDGLFDOPLOLWDQWJURXS5HG:DUULRU&DPSZDVIXQGHGERWKdirectly and
       indirectly by the Enterprise (DUWK )LUVW JDYH  RI VHHG PRQH\ WR 5HG
       :DUULRU&DPSWRHVWDEOLVKLWVSUHVHQFHQHDUWKHMXQFWXUHRIWKHSLSHOLQHFRQVWUXFWLRQ
       DQGWKH/DNH2DKHFURVVLQJ7KHSXUSRVHRI5HG:DUULRU&DPS¶VLQILOWUDWLRQRIPRUH
       SHDFHIXOGHPRQVWUDWRUVZDVWRLQVWLJDWHFULPLQDOEHKDYLRULQFLWHYLROHQWLQFLGHQWV
       DQGJHQHUDWHVHQVDWLRQDOYLGHRDQGVWLOOLPDJHVWKDWWKHVHJURXSVFRXOGXVHWRIRPHQW
       SXEOLFHPRWLRQVZRUOGZLGHJHQHUDWLQJGRQDWLRQVIRUDOOWKH(QWHUSULVHPHPEHUV
       HQJDJHGLQWKLV³FDXVH´5HG:DUULRU&DPSTXLFNO\HVWDEOLVKHGLWVHOIDVDQRXWOLHU
       URJXHHOHPHQWDPRQJWKHWKRXVDQGVJDWKHULQJLQ1RUWK'DNRWDDWWKH2FHWL6DNRZLQ
       &DPSUHIXVLQJWRFRRSHUDWHZLWKWKHORRVHDIILOLDWLRQRIWULEDODXWKRULWLHVWKDWZDV
       DWWHPSWLQJWRPDQDJHWKHWKURQJVRIQDWLYHDQGQRQQDWLYHDFWLYLVWVWKDWGHVFHQGHG
       XSRQWKHUHJLRQDQGUHSHDWHGO\WDNLQJXQLODWHUDOFULPLQDODFWLRQZLWKRXWFRQVXOWLQJ
       ZLWKRUJHWWLQJDSSURYDOIURPDQGLQGLUHFWRSSRVLWLRQWRWKH7ULEH

       6LIWLQJWKURXJKWKHDFFXVDWLRQV*UHHQSHDFH¶VGLUHFWDFWLRQLQWKHLPPHGLDWHFDVHDSSHDUV

WREHSXEOLVKLQJ³6XSSO\'ULYHVIRU5HG:DUULRUDQG6DFUHG6WRQH&DPSV´:DVWKLVWKH

³GLUHFWDQGLQGLUHFW´IXQGLQJRIDQDOOHJHGLQWHUQDWLRQDOFULPLQDOHQWHUSULVH"

       ,QGLUHFWO\IXQGLQJDVHSDUDWHHQWLW\ZKR(QHUJ\7UDQVIHUIDLOVWRQDPHDVDSDUW\

DSSHDUVWREHWKHRQO\FRQQHFWLRQEHWZHHQ*UHHQSHDFHDQGWKHPDMRULW\RIWKHDOOHJDWLRQVKHUH

7KHGHWDLOVFRQFHUQLQJWKH³GRQDWLRQGULYHV´*UHHQSHDFH¶VSUHFLVHUROHLQWKHPWRZKRP

*UHHQSHDFHJDYHIXQGVKRZKRXVLQJDQGIHHGLQJLQGLYLGXDOVLQFLWLHVDFURVVWKHFRXQWU\

IXUWKHUHGYLROHQWSURWHVWVLQ1RUWK'DNRWDDUHDOOOHIWXQDQVZHUHG

       
            'RF1RS'RF1RV
       
            'RF1RSS
       
            'RF1RSHPSKDVLVDGGHG
       
            'RF1RS

                                                    
      Case 1:17-cv-00173-BRW-CSM Document 88 Filed 07/25/18 Page 5 of 6



       7KHDOOHJHG5,&2YLRODWLRQVDUHVHSDUDWHIURPWKH5HG:DUULRU&DPSLQYROYHGIUDXG

(QHUJ\7UDQVIHUIDLOHGWRSURSHUO\SOHDGDQ\RIWKHSDUWLFXODUVRIWKHDOOHJHGIUDXGXOHQW

DFWLYLWLHV7KHZKHUHZKHQDQGKRZRIWKHDOOHJHGIUDXGLVREVFXUHGE\WKHDLULQJRI\HDUV

ORQJXQUHODWHGJULHYDQFHV

       7REURDGHQDQDOUHDG\YDJXH&RPSODLQW(QHUJ\7UDQVIHUDOVRQRWHVPDQ\RIWKH

DOOHJDWLRQV³LQFOXGHGEXWZHUHQRWOLPLWHGWR´DFWLRQVWDNHQ³VSHFLILFDOO\DPRQJRWKHU

WKLQJV´7KLVPDNHVLWLPSRVVLEOHIRU*UHHQSHDFHWRVLIWWKURXJKWKH&RPSODLQWLQVHDUFKRIWKH

SUHFLVHIDFWXDOEDVLVIRUWKHDVVHUWHGFODLPV7KLV&LUFXLWFRQVLVWHQWO\UHTXLUHVpro seSDUWLHVWR

SOHDGZLWKPRUHFODULW\DQGOHVVLUUHOHYDQWK\SHUEROHWKDQSUHVHQWKHUH

       7RDYRLGGLVPLVVDO(QHUJ\7UDQVIHUPXVWILOHDQDPHQGHGFRPSODLQWFRQWDLQLQJFRQFLVH

DQGGLUHFWDOOHJDWLRQVDJDLQVWHDFKQDPHG'HIHQGDQWV(QHUJ\7UDQVIHUPXVWDOVRSOHDGDQ\

DOOHJDWLRQVRIIUDXGZLWKSDUWLFXODULW\

                                           &21&/86,21

       7KLVFDVHLQYROYHVLPSRUWDQWPDWWHUVRISXEOLFFRQFHUQ'XHWRWKHFROOHFWLRQRI

JULHYDQFHVOLWWHULQJWKHFRPSODLQWKRZHYHULWLVXQFOHDUZKDWHDFK'HIHQGDQWDOOHJHGO\GLG

VSHFLILFDOO\WRJLYHULVHWRWKHDVVHUWHGFODLPV*UHHQSHDFH¶V0RWLRQVWR'LVPLVV'RF1RV

DQGDUH'(1,('ZLWKRXWSUHMXGLFHWRUHQHZDOLI(QHUJ\7UDQVIHUILOHVDQDPHQGHG




       
            'RF1R
       
            'RF1R
       
          6HHVicom, Inc. v. Harbridge Merch. Servs., Inc.)GWK&LU
SULPDU\SXUSRVHRI5XOHLVWRDOORZFRXUWDQGRSSRVLQJSDUW\WRXQGHUVWDQGZKHWKHUYDOLG
FODLPLVDOOHJHGDQGLIVRZKDWLWLVFRPSODLQWPXVWEHVXIILFLHQWO\FOHDUVRFRXUWRURSSRVLQJ
SDUW\LVQRWUHTXLUHGWRNHHSVLIWLQJWKURXJKLWLQVHDUFKRIZKDWLWLVSODLQWLIIDVVHUWV
       
        Cody v. Loen)HG$SS[WK&LUDavis v. Boylan)HG
$SS[WK&LU

                                                  
      Case 1:17-cv-00173-BRW-CSM Document 88 Filed 07/25/18 Page 6 of 6



FRPSODLQWWKDWFRPSOLHVZLWKWKLV2UGHU7KHPRWLRQVIRUKHDULQJ'RF1RVDUH

'(1,('

       ,7,66225'(5('WKLVWKGD\RI-XO\



                                            V%LOO\5R\:LOVRQ
                                            81,7('67$7(6',675,&7-8'*(




                                               
